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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 RUFUS LOVELL BROOKS,

              Plaintiff,

 vs.                                     CASE NO: 6:22-CV-00669-WWB-LHP


 BROOKS CONSULTANTS, INC.;
 TERI-LYNNE JOHANSSON AS
 ACCOUNT DIRECTOR AT BROOKS,
 INC., AS OPERATIONS MANAGER
 AT LABYRINTH, AND IN HER
 INDIVIDUAL CAPACITY; GERRY
 WYSE, AS COO OF BROOKS, INC.
 AND IN HIS INDIVIDUAL CAPACITY;
 LABYRNTH INTERNATIONAL, LLC;
 FUSION SOLUTIONS, INC.; FATIMA
 ABBAS AS VP OF FUSION SOLUTIONS,
 AND IN HER INDIVIDUAL CAPACITY;
 SWI, INC.; ETEAM, INC.,

              Defendants.
                                               /

 DEFENDANT, TERI-LYNNE JOHANSSON’S, MOTION TO DISMISS COUNTS I, II, IV,
  V, VI AND VII OF THE SECOND AMENDED COMPLAINT AS THEY PERTAIN TO
           HER AND MEMORANDUM OF LAW IN SUPPORT THEREOF

       Defendant, TERI-LYNNE JOHANSSON (“Defendant Johansson”), by and through

 her undersigned counsel and pursuant to Fed. R. Civ. P. 12(b)(6), hereby submits this

 Motion to Dismiss Counts I, II, IV, V, VI, and VII of the Second Amended Complaint, For

 Compensatory, Assumed, And Punitive Damages (the “Second Amended Complaint”)
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 [D.E. 29] filed against her by Plaintiff, RUFUS LOVELL BROOKS (“Plaintiff”), and in

 support thereof states:1

     SUMMARY OF PLAINTIFF’S ALLEGATIONS AND GROUNDS FOR DISMISSAL

       Plaintiff, in his seven Count Second Amended Complaint, alleges in six of those

 Counts that Defendant Johansson, in her individual capacity as an employee of named

 defendants Labyrinth International, Fusion Solutions, Inc., and Brooks Consultants, Inc.,

 engaged in staffing decisions within the course and scope of her employment that

 allegedly caused him damages. Second Amended Complaint, ¶ 47. In particular, Plaintiff

 alleges that he was required to execute “right to represent” agreements with each of the

 named corporate recruitment agencies, not with Defendant Johansson, thereby giving

 those named corporate recruitment agencies the exclusive right to represent him to

 carriers or general contractors for potential jobs. Second Amended Complaint, ¶ 32. As

 such, all claims against Defendant Johansson are due to be dismissed because they fail

 to state a cause of action against her.     Count I (Breach of Contract) and Count II

 (Intentionally Breached of Contract) of the Second Amended Complaint should be

 dismissed as they pertain to Defendant Johansson because she was not a party to the

 underlying contracts attached as Exhibit “A” and “B” to the Second Amended Complaint,

 and because Count II fails to state an actionable claim under Florida law. Counts IV, V,

 VI, and VII of the Second Amended Complaint should be dismissed as they pertain to

 Defendant Johansson because they fail to state an actionable claim under Florida law,

 and one or more are barred by the independent tort doctrine. See Second Amended




 1Plaintiff Johansson has not filed a response to Count III of the Second Amended
 Complaint as it appears to offer allegations only against other defendants to this action.
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 Complaint.    For the reasons set forth in more detail below, the Second Amended

 Complaint, as it pertains to Defendant Johansson, should be dismissed against her with

 prejudice.

                                 MEMORANDUM OF LAW

        I.     Motion to Dismiss Standard

        Pursuant to Federal Rule of Civil Procedure 8(a)(2), a complaint must contain a

 “short and plain statement of the claim showing that the pleader is entitled to relief.”

 Fed.R.Civ.P. 8(a)(2). This obligation “requires more than labels and conclusions, and a

 formulaic recitation of the elements of a cause will not do.” Bell Atl. Corp. v. Twombly,

 550 U.S. 544, 555 (2007) (citation omitted). To survive a motion under Rule 12(b)(6) of

 the Federal Rules of Civil Procedure, the allegations mush be “plausible” and “must be

 enough to raise a right to relief above the speculative level.” Id. at 555; see also Edwards

 v. Prime Inc., 602 F.3d 1276, 1291 (11th Cir. 2010). In addition to the above, the operative

 pleading must contain sufficient factual matter, accepted as true, to “state a claim to relief

 that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009) (quoting

 Twombly, 550 U.S. at 570).

        A complaint must give the defendant fair notice of the bases for relief and the

 grounds upon which the claim rests. Erickson v. Pardus, 551 U.S. 89, 93 (2007). In

 deciding a Rule 12(b)(6) motion to dismiss, courts must accept all factual allegations in

 the complaint as true and take them in the light most favorable to plaintiff. Id. at 94.

 However, “[l]egal conclusions without adequate factual support are entitled no

 assumption of truth.” Mamami v. Berzain, 654 F.3d 1148, 1153 (11th Cir. 2011) (citations

 omitted). Moreover, “[f]actual allegations that are merely consistent with a defendant’s



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 liability [also] fall short of being facially plausible.” Chaparro v. Carnival Corp., 693 F.3d

 1333, 1337 (11th Cir. 2012) (internal citations omitted); Davila v. Delta Air Lines, Inc., 326

 F.3d 1183, 1185 (11th Cir. 2003) (“conclusory allegations, unwarranted factual deductions

 or legal conclusions masquerading as facts will not prevent dismissal.”).

        II.    Counts I and II Fail To State a Breach of Contract Claim Against
               Defendant Johansson

        “The elements of a breach of contract action are: (1) a valid contract; (2) a material

 breach; and (3) damages.” Abbott Labs., Inc. v. GE Capital, 765 So.2d 737, 740 (Fla. 5th

 DCA 2000) (citations omitted). A contract is to be construed in accordance with its plain

 language. Seawatch at Marathon Condo. Ass’n, Inc. v. Guarantee Co. of N. Am., 286 So.

 3d 823, 827 (Fla. 3d DCA 2019). In general, a contract does not bind one who is not a

 party to the contract, or who has not in some manner agreed to accept its terms.

 Whetstone Candy Company, Inc. v. Kraft Foods, Inc., 351 F.3d 1067, 1073 (11th Cir.

 2003). Here, Plaintiff’s breach of contract claims fail because no valid contract existed

 between Plaintiff and Defendant Johansson.

        In support of his claims set forth in Counts I and II of the Second Amended

 Complaint, Plaintiff references and relies solely upon two versions of a “right to represent

 agreement” that he has attached to the Second Amended Complaint as Exhibits “A” and

 “B”. Second Amended Complaint, ¶¶ 67, 69, 120; Exs. ”A” and “B”. A simple review of

 Exhibit “A”, however, establishes that the parties to that alleged “contract” were Brook

 Consultants Inc. as the “Submitting Vendor Name”, Rufus Brooks as the “Candidate

 Name”, and Sprint Contractor Solutions. See Exhibit “A”. Similarly, a review of Exhibit

 “B” establishes that the parties to that “contract” were Brook, Rufus Brooks, and Ericsson

 ARP. See Exhibit “B”. Defendant Johansson is not mentioned or referenced in any way

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 in either of those documents, nor is she listed as a party to either transaction. Instead,

 these “contracts” are between Plaintiff and a corporate recruitment agency.

        This lack of a contractual relationship between Plaintiff and Defendant Johansson

 is actually verified by Plaintiff’s own allegations in the Second Amended Complaint. For

 instance, he alleges that:

               Many of the staffing agencies, including Labyrinth
               International, eTeam, Inc., Fusion Solution, SWI, Inc., and
               Brook, Inc., required the contractors to sign “right to
               represent” agreements or e-mail confirmations, (“RTR”),
               which gives the agencies the exclusive rights to represent
               the contractors to the carriers or general contractors for jobs.
               ¶ 32. (emphasis supplied).

        He similarly alleges in his Second Amended Complaint that in order to obtain a

 contractor assignment with Ericsson, he had to have a “RTR” agreement with the

 staffing agency. ¶¶ 36. (emphasis supplied). And perhaps most telling, Plaintiff states

 in no uncertain terms that “Plaintiff contracted with Labyrinth International, Fusion

 Solution, Inc., and Brook, Inc. for jobs with Ericsson and Sprint.” ¶¶ 46. (emphasis

 supplied). In short, Plaintiff concedes in his own words that his contractual relationship

 was with the corporate recruitment agencies, not with Defendant Johansson, who was

 merely an employee of such agencies. As such, she was not a “party” to these alleged

 contracts, and the absence of a contract between the Plaintiff and Defendant Johansson

 dooms his claims for breach of contract and intentionally breached of contract.

        Moreover, it is unclear what Plaintiff is attempting to allege in Count II by claiming

 “intentionally breached of contract”. To the extent he is attempting to merely restate

 “intention” as an element of a breach of contract claim, such a claim fails under Florida

 contract law for the reasons set forth above, and does not constitute a separate cause of



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 action. If, however, he is trying to state an alleged violation of some other state or federal

 statute, such a claim would likewise be subject to dismissal because it is based on nothing

 more than an alleged breach of contract, without any reference to other authority. See,

 e.g., Hache v. Damon Corp., 2008 WL 912434, at *2 (M.D. Fla. Apr. 1, 2008). As such,

 Count II fails for the all of the reasons above, and thus Counts I and II as they pertain to

 Defendant Johansson must be dismissed.

        III.   Counts IV and V Are Barred By Florida’s “Independent Tort Doctrine”

        The elements of an intentional misrepresentation claim in Florida are “(1) a false

 statement concerning a material fact; (2) the representor’s knowledge that the

 representation is false; (3) an intention that the representation induce another to act on it;

 and (4) consequent injury by the party acting in reliance on the representation.” Butler v.

 Yusem, 44 So. 3d 102, 105 (Fla. 2010). The Middle District Court of Florida, however,

 applies the rule that “the alleged duty in [a plaintiff’s] tort claim cannot stem from a

 contractual relationship between the parties.” Mortgage Contracting Services, LLC v. J&S

 Property Services LLC, 2018 WL 3219386, at *3 (M.D. Fla. July 2, 2018); Goldson v. KB

 Home, 2017 WL 1038065, at *3 (M.D. Fla. March 17, 2017) (“Federal district courts within

 Florida have cited Justine Pariente's statements to support the contention that in order to

 bring a valid tort claim, the party must still show that the tort is independent of any breach

 of contract claim.”).

        More specifically, under Florida’s “independent tort doctrine”, it is well settled that

 a plaintiff may not recast causes of action that are otherwise breach-of-contract claims as

 tort claims. Altamonte Pediatric Associates, P.A. v. Greenway Health, LLC, 2020 WL

 5350303, at *5 (M.D. Fla. Sept. 4, 2020). Stated differently, “where the alleged fraudulent



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 misrepresentation is inseparable from the essence of the parties’ agreement, the

 independent tort doctrine applies, and the parties are limited to pursuing their rights in

 contract.” Certified Collectibles Grp., LLC v. Globant, LLC, 2021 WL 1214963, at *4 (M.D.

 Fla. Mar. 31, 2021).

        In the Second Amended Complaint, Plaintiff’s allegations and arguments in Count

 IV alleging “Intentionally Misrepresentation” and Count V alleging “Intentionally

 Fraudulent Misrepresentation” both allege supposed material misrepresentations that are

 indistinct and identical to the breach of contract allegations and claims set forth in Counts

 I and II of the Second Amended Complaint. In fact, the “right to represent” agreements

 and the alleged breach of such agreements are the sole basis for Plaintiff’s claims in both

 Counts IV and V. Second Amended Complaint, ¶¶ 146, 149, 150, 162, 165, 166. Here,

 the alleged misrepresentations that Plaintiff claims were made to him stem from the

 alleged breaches of the contractual relationship between him and the corporate

 defendants, namely those same allegations set forth in Counts I and II. In other words,

 Plaintiff has simply attempted to recast his breach of contract claims under a different

 title, namely an alleged tort claim, which he is not permitted to do under Florida law.

        Further, the damages that Plaintiff alleges relate to his misrepresentation claims

 are no different than the damages Plaintiff alleges in his breach of contract claims in

 Counts I and II. Second Amended Complaint, ¶¶ 126, 134, 176. Under Florida law,

 however, “[t]o bring a tort claim concurrently with a contract claim, plaintiffs must plead a

 tortious action committed separate and apart from the breach of contract”, and for an

 alleged misrepresentation regarding a contract to be actionable, the damages stemming

 from that misrepresentation must be “independent, separate and distinct from the



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 damages sustained from the contract’s breach”. See Perez v. Scottsdale Ins. Co., 2020

 WL 607145, at *2 (S.D. Fla. Feb. 7, 2020).

        In other words, Plaintiff has failed to distinguish between acts that were allegedly

 “misrepresentations” and acts which were allegedly breaches of the alleged contracts.

 As such, Plaintiff’s misrepresentation claims are not distinct from the alleged breach of

 contract claims, and thus are barred by the independent tort doctrine. Therefore, Counts

 IV and V should be dismissed as they pertain to Defendant Johansson.

        IV.    Count VI Fails To Meet The Level Of Conduct Necessary To State A
               Claim For Intentional Infliction of Emotional Distress Against
               Defendant Johansson

        In order to state a cause of action for intentional or reckless infliction of emotional

 distress (“IIED”), a plaintiff must demonstrate that (1) the defendant acted intentionally

 and recklessly; (2) the defendant’s conduct was extreme and outrageous; (3) the

 defendant’s conduct caused the plaintiff’s emotional distress; and (4) plaintiff’s emotional

 distress was severe. Metropolitan Life Insurance Company v. McCarson, 467 So.2d 277,

 278 (Fla. 1985). Whether alleged conduct is sufficiently outrageous to meet this standard

 is a question of law, not of fact. Muldrow v. State of Florida, 2005 WL 2012776 (M.D. Fla.

 2005); Ponton v. Scarfone, 468 So.2d 1009, 1010 (Fla. 2d DCA 1985).

        Under Florida law, an IIED claim is actionable only when the plaintiff pleads

 conduct that is “so outrageous in character, and so extreme in degree, as to go beyond

 all possible bounds of decency, and to be regarded as atrocious, and utterly intolerable

 in a civilized community.” Metropolitan Life, 467 So.2d at 278-279. It is not enough that

 the intent of the actor was tortious or criminal, and it is not enough that the conduct was




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 characterized by malice. State Farm Mutual Automobile Insurance Co. v. Novotny, 657

 So.2d 1210, 1213 (Fla. 5th DCA 1995), rehearing denied.

        For example, in Vance v. S. Bell Tel. & Tel. Co., 983 F.2d 1573, 1575, n.7 (11th

 Cir 1993), the Eleventh Circuit Court of Appeals, applying Florida law, affirmed the

 dismissal of an IIED claim on the basis that the conduct alleged was not sufficiently

 “outrageous” when considering facts much more egregious than those alleged here. Id.

 That case involved (among numerous other allegations) hanging a rope noose from the

 plaintiff’s work station, forcing the plaintiff into a physical altercation, intentionally

 transporting her to the wrong hospital during a nervous breakdown, and constructively

 discharging her. Id. at 1574 n.2. See also, Short v. Immokalee Water & Sewer District,

 165 F.Supp.3d 1129, 1152-53 (M.D. Fla. Feb. 25, 2016) (holding that while alleged

 conduct, if true, was clearly offensive, it failed to rise to the level of outrageousness

 required for a claim of IIED where plaintiff alleged that he was subjected to a

 discriminatorily applied pay policy, issued unfounded discriminatory actions, his job duties

 were limited, and he was accused of watching pornography on his work computer and

 ordered to seek treatment for same); Williams v. Worldwide Flight SVCS., Inc., 877 So.2d

 869 (Fla. 3d DCA 2004) (finding that repeated racial epithets, false disciplinary reports,

 job termination threats, and assignment to dangerous duties were objectionable and

 offensive but did not rise to level of extreme and outrageous); Bilbrey v. Myers, 91. So.3d

 887, 892 (Fla. 5th DCA 2012) (holding that pastor’s actions of allegedly falsely telling

 various people that former church member was a homosexual with immoral character and

 trying to break up member’s relationship with his fiancé did not rise to the level of

 outrageousness required for an IIED claim).



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          Similarly, as a matter of law in this case, Plaintiff’s allegations are woefully lacking.

 Plaintiff’s IIED claim is premised upon the allegations that Defendant Johansson “lied to

 the Plaintiff” regarding her efforts to represent him to organizations with job openings and

 allegedly knowing and making sure that Plaintiff was not going to be hired for any jobs,

 and otherwise merely recites the elements of a IIED claim in conclusory fashion. See

 Second Amended Complaint at ¶¶ 178-189. These vague and conclusory allegations,

 even if true, are clearly not “extreme” or “outrageous” enough to sustain a claim for IIED

 when viewed in conjunction with the extremely high standard set forth in the case law

 cited above. The allegations of Count VI as they pertain to Defendant Johansson simply

 do not support a cause of action for intentional or reckless infliction of emotional distress,

 and thus Count VI, as it pertains to Defendant Johansson, must be dismissed on this

 basis.

          V.     Count VII Fails To Meet The Level Of Conduct Necessary To State A
                 Claim For Tortious Interference With Prospective Economic
                 Advantages Against Defendant Johansson

          In order to state a cause of action for tortious interference with prospective

 economic advantages, a plaintiff must allege: (1) the existence of a business relationship;

 (2) knowledge of the relationship on the part of the defendant; (3) an intentional and

 unjustified interference with that relationship by the defendant; and (4) damage to the

 plaintiff as a result of the breach of the relationship. Hodges v. Buzzeo, 193 F.Supp.2d

 1279, 1286 (M.D. Fla. 2002). “As a general rule, an action for tortious interference with

 a business relationship requires a business relationship evidenced by an actual and

 identifiable understanding or agreement which in all probability would have been




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 completed if the defendant had not interfered.” Ethan Allen, Inc. v. Georgetown Manor,

 Inc., 647 So.2d 812, 815 (Fla. 1994).

        A tortious interference claim, however, exists only against third parties who are not

 parties to the business relationship. In Re: Environmental Technologies International,

 Inc. v. Candler, 2017 WL 2571590, * 8 (M.D. Fla. June 13, 2017); Clifton v. Titusville Ctr.

 For Surgical Excellence, LLC, 2016 WL 233879, at * 2 (M.D. Fla. Jan. 20, 2016). An

 agent of a corporate party to the business relationship cannot be held liable for tortious

 interference if she was acting within her capacity and scope as an agent of the

 corporation. SIG, Inc. v. AT & T Digital Life, Inc., 971 F. Supp. 2d 1178, 1199 (S.D. Fla.

 2013) (citing Bray & Gillespie Mgmt. LLC v. Lexington Ins. Co., 527 F. Supp. 2d 1355,

 1367 (M.D. Fla. 2007)). Thus, “a claim for tortious interference ... cannot lie where the

 alleged interference is directed at a business relationship to which the defendant is a

 party. In other words, the interfering defendant must be a third party, a stranger to the

 business relationship.” Ernie Haire Ford, Inc. v. Ford Motor Co., 260 F.3d 1285, 1294

 (11th Cir. 2001) (internal quotation marks and citations omitted). As stated by one Florida

 court, “[g]iven that corporate entities…must act through individuals, a tortious interference

 claim will generally not lie against employees and representatives of contracting entities.”

 Cox v. CSX Intermodal, Inc., 732 So.2d 1092, 1099 (Fla. 1st DCA 1999).

        The only exception to this privilege is when an employee of a contracting party

 acts “solely with ulterior purposes and the advice is not in the principal’s best interest.” In

 Re: Environmental Technologies International, Inc. 2017 WL 2571590 at * 8; Alexis v.

 Ventura, 66 So.3d 986, 988 (Fla. 3d DCA 2011) (quoting O.E. Smith’s, Inc. v. George,

 545 So. 2d 298, 2922 (Fla. 1st DCA 1989). This phrase “sole ulterior purpose” has been



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 interpreted by Florida courts to mean “a singular improper purpose detrimental to the

 employer’s interests.” In Re: Environmental Technologies International, Inc. 2017 WL

 2571590 at * 8; Alexis v. Ventura, 66 So.3d 986, 988 (Fla. 3d DCA 2011) (quoting O.E.

 Smith’s, Inc. v. George, 545 So. 2d 298, 2922 (Fla. 1st DCA 1989).

        In support of his claims of alleged tortious interference in Count VII, Plaintiff alleges

 that Defendant Johansson interfered with his prospective business relationships with

 Brook Consulting, Inc. and Labyrinth International. Second Amended Complaint at ¶¶

 196-201.       Plaintiff’s own allegations in the Second Amended Complaint, however,

 establish that Defendant Johansson was at all relevant times acting in her employment

 capacity as the Account manager at Brook Consulting, Inc. and Labyrinth International.

 Second Amended Complaint at ¶¶ 47, 204. Based on the legal authority set forth above,

 tortious interference claims generally will not lie against employees and representatives

 of contracting entities, which is what Defendant Johansson was at all times relevant to

 this action.

        As for the potential exception to this bar, Plaintiff totally fails to present allegations

 that Defendant Johansson acted with the “sole ulterior purpose” of acting detrimental to

 her employers’ interests. In fact, all that Plaintiff offers are conclusory allegations that

 Defendant Johansson allegedly engaged in conduct that was “knowingly, intentionally,

 willfully, wantonly, or maliciously, with the intent to harm Brooks, or in blatant disregard

 of the substantial likelihood of causing him harm.” Second Amended Complaint at ¶¶

 208. In other words, Plaintiff alleges no singular “ulterior purpose”, but rather offers

 multiple potential motivations, none of which she claims were allegedly detrimental to the

 interests of her employers, the actual parties to the relationship. Moreover, Plaintiff has



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 utterly failed to provide allegations that Defendant Johansson engaged in any behavior

 that interfered with a business relationship evidenced by an actual and identifiable

 understanding or agreement which in all probability would have been completed if she

 had not allegedly interfered.

        As such, the allegations of Count VII as they pertain to Defendant Johansson

 simply do not support a cause of action for tortious interference with prospective

 economic advantages, and thus Count VII, as it pertains to Defendant Johansson, must

 be dismissed on this basis.

                          LOCAL RULE 3.01(G) CERTIFICAITON

        Pursuant to Local Rule 3.01(g), the undersigned has conferred by telephone with

 Plaintiff in a good faith effort to resolve this Motion, but the Parties were unable to resolve

 the issues in this Motion, and Plaintiff opposes this Motion to Dismiss.

        WHEREFORE, Defendant, TERI-LYNNE JOHANSSON, respectfully requests that

 all of the Counts against her in the Second Amended Complaint be dismissed, with

 prejudice, and that the Court grant such other and further relief as this Court deems

 proper.

        Dated this 24th day of June, 2022.


                                             /s/ Paul J. Scheck
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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was filed this

 24th day of June, 2022 with the United States District Court, Middle District of Florida, via

 their CM/ECF system, served via electronic mail to all counsel of record who have made

 an appearance in this case, and served by U.S. Mail and via electronic mail to:

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